                                  Case: 23-01034                 Doc: 4          Filed: 08/13/23               Page: 1 of 4

                                                              United States Bankruptcy Court
                                                               Western District of Oklahoma
Teague & Wetsel, PLLC,
      Plaintiff                                                                                                        Adv. Proc. No. 23-01034-SAH
Morain,
      Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 1087-5                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Aug 11, 2023                                               Form ID: pdf006                                                            Total Noticed: 8
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Aug 13, 2023:
Recip ID                   Recipient Name and Address
aty                    +   Cody D Kerns, Teague & Wetsel, PLLC, 1741 W. 33rd St. 120, Edmond, OK 73013-3838
ust                    +   James C Harmon, DOJ-Ust, 224 S. Boulder, Ste. 225, Tulsa, OK 74103-3026
ust                    +   Tamara D Pardo, DOJ-Ust, P.O. Box 608, Albuquerque, NM 87103-0608
pla                    +   Teague & Wetsel, PLLC, 1741 W 33rd Street, Ste 120, Edmond, OK 73013-3838

TOTAL: 4

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
smg                        Email/Text: bankruptcy@oesc.state.ok.us
                                                                                        Aug 11 2023 21:02:00      Oklahoma Employment Security Commission, PO
                                                                                                                  Box 53039, Oklahoma City, OK 73152-3039
ust                    + Email/Text: USTPRegion20.OC.ECF@usdoj.gov
                                                                                        Aug 11 2023 21:02:00      Charles Glidewell, United States Trustee, 215
                                                                                                                  Dean A. McGee Ave. 4th Fl., Oklahoma City, OK
                                                                                                                  73102-3479
ust                    + Email/Text: USTPRegion20.OC.ECF@usdoj.gov
                                                                                        Aug 11 2023 21:02:00      Felicia S Turner, 215 Dean A. McGee Avenue,
                                                                                                                  Oklahoma City, OK 73102-3440
ust                    + Email/Text: USTPRegion20.OC.ECF@usdoj.gov
                                                                                        Aug 11 2023 21:02:00      United States Trustee, United States Trustee, 215
                                                                                                                  Dean A. McGee Ave., 4th Floor, Oklahoma City,
                                                                                                                  OK 73102-3479

TOTAL: 4


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
ust                            John McClernon
ust                            Katherine Wieland
ust                            Lendy Heilaman
ust                            Michele Adams
ust                            Test UST
ust                            Vickie Kaufman
ust                            trustee11
dft                            Ronald George Morain

TOTAL: 8 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.
                               Case: 23-01034                Doc: 4         Filed: 08/13/23             Page: 2 of 4

District/off: 1087-5                                              User: admin                                                            Page 2 of 2
Date Rcvd: Aug 11, 2023                                           Form ID: pdf006                                                       Total Noticed: 8

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Aug 13, 2023                                       Signature:           /s/Gustava Winters




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on August 11, 2023 at the address(es) listed
below:
Name                             Email Address
Cody D Kerns
                                 on behalf of Plaintiff Teague & Wetsel PLLC ckerns@teaguewetsel.com


TOTAL: 1
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Dated: August 11, 2023
The following is ORDERED:




                         UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF OKLAHOMA

In re:                                )
                                      )
RONALD MORAIN,                        )              Case No. 23-11267-SAH
                                      )              Chapter 7
                        Debtor.       )
_____________________________________ )
                                      )
TEAGUE & WETSEL, PLLC,                )
                                      )
                        Plaintiff,    )
v.                                    )              Adv. Pro. 23-01034-SAH
                                      )
RONALD MORAIN,                        )
                                      )
                        Defendant.    )

           ORDER DIRECTING COMPLAINT TO BE AMENDED TO COMPLY
             WITH FEDERAL RULE OF BANKRUPTCY PROCEDURE 7008

         Effective December 1, 2016, Federal Rule of Bankruptcy Procedure 7008 requires that in

an adversary proceeding before a bankruptcy court, the complaint, counterclaim, cross-claim, or

third-party complaint contain a statement that the pleader does or does not consent to entry of

final orders or judgment by the bankruptcy court. The complaint filed by plaintiff on August 10,
                    Case: 23-01034      Doc: 4       Filed: 08/13/23        Page: 4 of 4




2023 [Doc. 1] does not meet this requirement. Plaintiff has five (5) business days from the date

this order is entered to file an amended complaint that complies with Rule 7008, or the complaint

will be stricken.

       IT IS SO ORDERED.
                                             # # #




                                                2
